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                                      May 23, 2024


Office of the Clerk
U.S. Court of Appeals for the Seventh Circuit
219 S. Dearborn St., Rm. 2722
Chicago, Illinois 60604

      Re:     Response to Rule 28(j) notice in K.C. v. Individual Members of the Med.
              Licensing Bd. of Ind., No. 23-2366

Dear Clerk:

      The State respectfully submits this response to Plaintiffs-Appellees’ notice of
supplemental authority, Dkt. 142.

       The majority decision in Kadel v. Folwell, 100 F.4th 122 (4th Cir. 2024) (en
banc)—which addresses health plans’ exclusion of coverage for certain gender-
transition procedures—rests on premises absent here. First, the majority began with
the view that “gender identity is a [constitutionally] protected characteristic” in its
own right. Id. at 143. That is not the law of this Circuit; nor should it be. Opening Br.
40–42. Second, the majority relied on plan-specific reasons in rejecting arguments
that the challenged exclusion served an important government interest in protecting
public health. It observed one plan “did not know why the exclusion was adopted,”
and the other relied on rationales “created for . . . litigation.” Kadel, 100 F.4th at 156–
57. But here, as the district court acknowledged, S.E.A. 480 was adopted for
“legitimate” and “important reasons”—namely, that “the safety and effectiveness of
puberty blockers and hormone therapy is uncertain and unsettled.” SA1, SA21, SA23.

       Even under the specific circumstances in Kadel, the Kadel majority’s decision
is deeply flawed. As the six dissenting judges in Kadel explained, the regulation of
unproven medical interventions for gender dysphoria does not trigger heightened
scrutiny. See Kadel, 100 F.4th at 172–77 (Richardson, J., dissenting).

      Doe v. Rocky Mountain Classical Academy, 99 F.4th 1256 (10th Cir. 2024), is
inapplicable as well. That case involved a school dress code that prohibited boys from
wearing earrings while permitting girls to do so. Id. at 1258. In contrast, S.E.A. 480
prohibits gender-transition procedures for both boys and girls. Opening Br. 32–33.
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Moreover, as the Tenth Circuit noted, this Court applies a different standard to dress
codes. See Doe, 99 F.4th at 1260. And whatever the proper standard for dress codes
regulating articles that both sexes can wear, Supreme Court precedent establishes
that S.E.A. 480’s regulation of “medical procedure[s] that only one sex can undergo
does not trigger heightened constitutional scrutiny.” Dobbs v. Jackson Women’s
Health Org., 597 U.S. 215, 236 (2022); see Opening Br. 33–36; Reply 3–7.

                                       Sincerely,




                                       James A. Barta
                                       Solicitor General

cc:   Counsel of record (via CM/ECF)
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                       CERTIFICATE OF COMPLIANCE

      This document complies with the word limit set forth in Rule of Appellate
Procedure 28(j) because the body of the letter contains 349 words.


May 23, 2024                              /s/ James A. Barta
                                          JAMES A. BARTA
                                          Solicitor General
